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                                                                                                                    2018 May-09 AM 11:12
                                                                                                                    U.S. DISTRICT COURT
                                                                                                                        N.D. OF ALABAMA




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION


                                                        )
IN RE: BLUE CROSS BLUE SHIELD                           )        Master File No. 2:13-CV-20000-RDP
ANTITRUST LITIGATION                                    )
(MDL No. 2406)                                          )        This document relates to all cases.
                                                        )


                                                       ORDER

         This matter is before the court on Plaintiffs’ Motion for Oral Argument on Defendants’

Motion for Certification under 28 U.S.C. ' 1292(b). (Doc. # 2157). The court will take the motion

under advisement subject to the following briefing.

         In relation to the underlying Motion for Certification (Doc. # 2085), on or before May 24,

2018, the parties SHALL each file a report, limited to twenty pages, addressing in detail what

issues (evidentiary or legal) in their class certification motions or responses should be differently

analyzed if the court, contrary to its rulings previously, were to apply (1) the rule of reason

standard of review to Plaintiffs’ claims regarding the aggregation of ESAs and National Best

Efforts or (2) the per se standard of review to Plaintiffs claims regarding Blue Card.1

         The Clerk of the Court is directed to ADMINISTRATIVELY TERMINATE Plaintiffs’

Motion for Oral Argument. (Doc. # 2157).




         1
            The court notes that the parties have already acknowledged that the standard of review will affect the
court’s Rule 23 analysis. “I also think that while some of the arguments made may be affected by the standard of
review… .” (Doc. # 2110 at 25). “I think that the discussion of class certification is going to be informed by the Court's
rulings on standard of review. I don't think there's any doubt that there will be arguments that both sides will make that
will be affected by what the standard of review is.” (Doc. # 1469 at 6).

                                                            1
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DONE and ORDERED this May 9, 2018.



                             _________________________________
                             R. DAVID PROCTOR
                             UNITED STATES DISTRICT JUDGE




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